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                               10
                               11                       UNITED STATES DISTRICT COURT
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                               12                   SOUTHERN DISTRICT OF CALIFORNIA
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                               14 In re                                     U.S.D.C. Case No.: '20CV0871 JAH BLM
                               15 DOMI Publications, LLC,                   Bankruptcy Case No. 20-10250-btb
                                                                            (Bankr. D. Nev.)
                               16             Debtor.
                                                                            Chapter 7
                               17
                                                                            MEMORANDUM OF POINTS AND
                               18                                           AUTHORITIES IN SUPPORT OF
                                                                            DOMI PUBLICATIONS, LLC'S
                               19                                           MOTION TO QUASH OUT OF
                                                                            DISTRICT SUBPOENAS
                               20
                                                                            Date:        To be set.
                               21                                           Time:        To be set.
                                                                            Crtrm.:      To be set.
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                                                                MOTION TO QUASH SUBPOENAS
                                1                                             I.
                                2                                      Introduction
                                3         George Rikos and the Law Offices of George Rikos (collectively, "Rikos")
                                4 request that this court issue an order quashing the Subpoenas served on them by
                                5 Creditors Jane Does 1-22 ("Creditors") on April 27, 2020. True and correct copies
                                6 of the Subpoena to Produce Documents, Information, or Objection or to Permit
                                7 Inspection of Premises in a Bankruptcy Case (or Adversary Proceeding) and
                                8 Subpoena for Rule 2004 Examination (collectively, the "Subpoenas") are attached to
                                9 the Declaration of George Rikos ("Rikos Decl.") as Exhibit ("Ex.") "A"; ¶ 16.
                               10         The Subpoenas were served on Rikos, who is counsel of record in a pending
                               11 state court action for DOMI Publications, LLC, doing business as MomPOV.com
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                               12 ("DOMI"), an action that is being prosecuted by Creditors. Rikos Decl., ¶ 3. DOMI
                               13 is also the debtor in the instant bankruptcy action pending in the Nevada Bankruptcy
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                               14 Court. Request for Judicial Notice in Support of DOMI Publication, LLC's Motion
                               15 to Quash Out of District Subpoena ("RJN"), ¶ 5. Although purportedly issued under
                               16 Bankruptcy Rule 2004, which permits examinations to investigate the acts, conduct,
                               17 property, liabilities and financial condition of the debtor, Fed. R. Bankr. P. 2004, the
                               18 Subpoenas call for the indiscriminate production of an immense cache of documents
                               19 related to Rikos's representation of DOMI in a California state court action which
                               20 spanned four years, included over 3100 entries in the Register of Action, and
                               21 resulted in the exchange in discovery of hundreds of thousands of pages of
                               22 documents.1 Rikos continues to represent DOMI as of this filing. Rikos Decl., ¶ 23.
                               23
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                                        For example, a key word search in Rikos' email database for “Jane Doe”
                               26 generated over 7400 responsive emails, and keyword search for "DOMI" generated
                               27 over 1100 responsive emails. Rikos Decl., ¶ 26. Rikos's electronic trial folder alone
                                  has 22 gigabytes of pdfs, consisting of thousands of pages of materials and the
                               28 underlying trial included approximately 5,000 exhibits. Id.
                                                                             1
                                        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DOMI PUBLICATIONS, LLC'S
                                                      MOTION TO QUASH OUT OF DISTRICT SUBPOENAS
                                1         With the instant Subpoenas, Creditors seek to take advantage of Federal
                                2 Bankruptcy procedure to conduct discovery which would never have been permitted
                                3 in the underlying litigation – specifically, taking the deposition of opposing counsel
                                4 and reviewing his entire case file. Creditors attempted, on five occasions, to
                                5 subpoena opposing counsel for testimony and documents in the same state court
                                6 action, and were steadfastly denied by the Honorable Joel Wohlfeil. Rikos Decl.,
                                7 ¶ 12. In fact, Judge Wolhfeil stated:
                                8         I cannot begin to emphasize how reluctant I am to allow a lawyer to
                                          become a witness in this case. And at the moment one side or the
                                9         other wants to schedule counsel's deposition, you are characterizing
                                          him or her or they as a witness.
                               10
                                          The court will not, absent an awfully good reason to the contrary,
                               11         allow that to occur in this department. This case is about your
                                          respective clients, the parties. It's not about the lawyers.
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                                          So a request to take opposing counsel's deposition for any purpose is
                               14         denied.
                               15 Rikos Decl., ¶ 22, Ex. C.
                               16         Repeatedly rebuffed by the California Superior Court and realizing the
                               17 bankruptcy may be dismissed as soon as July by way of a motion filed by the United
                               18 States Trustee' office, Creditors are once again trying to depose an opposing counsel
                               19 in the underlying litigation. In addition, they seek production of the entire client file,
                               20 including all of Rikos's work product, confidential communications with
                               21 codefendant counsel that is protected by a joint defense agreement and the common
                               22 interest privilege, and a welter of irrelevant communications with client
                               23 representatives, retained experts, and percipient witnesses. And Creditors have
                               24 sought production of all this material in less than two weeks.
                               25         As explained below, the Creditors' abuse of Rule 2004 and brazen disregard
                               26 for attorney work product and confidentiality should not be tolerated.
                               27
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                                       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DOMI PUBLICATIONS, LLC'S
                                                             MOTION TO QUASH SUBPOENAS
                                1                                            II.
                                2                                Procedural Background
                                3         On June 2, 2016, a subset of the Creditors filed an action against three
                                4 individuals and ten entities, including DOMI, as San Diego Superior Court Case
                                5 number 37-2016-00019027-CU-FR-CTL. RJN, ¶ 1. Related actions were later filed
                                6 in 2017, as San Diego Superior Court Case numbers 37-2017-00033321-CU-FR-
                                7 CTL and 37-2017-00043712-CU-FR-CTL. RJN, ¶¶ 2, 3. All three matters were
                                8 eventually consolidated as Jane Does 1-22 v. GIRLSDOPORN.COM, et. al., and are
                                9 hereinafter referenced collectively as the "State Court Action."
                               10         When DOMI was sued in 2016, it was owned 50-50 by Michael J. Pratt, who
                               11 is also a defendant to the State Court Action, and Douglas Wiederhold. Rikos Decl.,
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                               12 ¶ 5. Wiederhold was later added to the State Court Action, but was dismissed
                               13 without prejudice on October 27, 2017. Rikos Decl., ¶ 7. Pratt, Wiederhold, and
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                               14 DOMI always maintained separate counsel. Rikos Decl. ¶ 5. Pratt sold his interest
                               15 in DOMI to Wiederhold shortly before trial in the State Court Action and is now a
                               16 fugitive, facing an arrest warrant and federal charges in United States v. Michael J.
                               17 Pratt, et. al., U.S. District Court, Southern District of California, Case No. 3:19-cr-
                               18 04488-JLS-1. Rikos Decl. ¶ 9; RJN, ¶ 4. Neither DOMI nor Wiederhold is named
                               19 in the criminal case.
                               20         The State Court Action was adjudicated after a 99 day trial, resulting in a
                               21 statement of decision in favor of the Creditors in an amount in excess of $12
                               22 million, for which DOMI is now jointly and severally liable. Rikos Decl., ¶ 11. No
                               23 judgment has been entered; the case is still pending. Rikos Decl., ¶ 23. Although
                               24 DOMI and Pratt were separately represented, they and their counsel entered into a
                               25 joint defense agreement for the conservation of efforts and resources during
                               26 litigation and at trial. Rikos Decl., ¶ 8. The codefendants and their counsel
                               27 understood that they would work together on matters of common interest and that
                               28 their communications concerning defense strategy would be held in confidence. Id.
                                                                         3
                                       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DOMI PUBLICATIONS, LLC'S
                                                             MOTION TO QUASH SUBPOENAS
                                1         On January 16, 2020, DOMI filed Chapter 7 bankruptcy in the District of
                                2 Nevada. RJN, ¶ 5. In its petition, DOMI listed $32,278.84 in assets and
                                3 $12,928,024.12 in liabilities, consisting primarily of the $12 million judgment. RJN,
                                4 ¶ 7. The bankruptcy filing resulted in an automatic stay of the pending State Court
                                5 Action, and a related appellate action which had been pending since 2018.2 On May
                                6 5, 2020, however, on motion by the Creditors, the Bankruptcy Court lifted the stay
                                7 on the State Court action. RJN, ¶ 6. Rikos remains counsel in the State Court Action
                                8 as well as a related appellate court action. Rikos Decl., ¶ 23.
                                9         On March 2, 2020, the United States Trustee filed a Motion for Abstention
                               10 under Section 305, moving the court to abstain by dismissing the case, or, in the
                               11 alternative, to dismiss the case for cause, and to direct the vesting of estate property
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                               12 in the State Court Receiver. RJN, ¶ 8. United States Bankruptcy Court, District of
                               13 Nevada (Las Vegas) Docket for Bankruptcy Petition 20-10250-tbt for Debtor,
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                               14 DOMI ("Dkt") # 34. RJN, ¶ 6; Ex. D. That motion was rescheduled several times
                               15 and is now to be heard on July 28, 2020. Id. If this motion is granted, the
                               16 Bankruptcy action will be dismissed and DOMI's assets will be in the hands of the
                               17 State Court Receiver. Moreover, any standing or jurisdiction held by the Trustee
                               18 will end. Significantly, and as discussed below, this includes any attorney client
                               19 privileges held by the Trustee.
                               20         Despite the pendency of the foregoing motion, on April 6, 2020, the Creditors
                               21 filed Ex Parte Motions to conduct several 2004 Examinations, including the
                               22 depositions of Wiederhold, DOMI [Dkt #66], and DOMI's current counsel, Rikos
                               23 [Dkt #65] which were granted on April 13, 2020 [Dkt #70-72]. RJN, ¶ 9; Ex. D.
                               24 Rikos was not served with notice of, nor afforded an opportunity to oppose, the ex
                               25 parte motion.
                               26
                                    2
                               27        Defendants in the State Court Action filed appeals of anti-SLAPP motion
                                  denials in Does, et. al. v. GIRLSDOPORN.COM et. al., D074514. This appellate
                               28 court action was stayed as a result of DOMI's bankruptcy filing. RJN, ¶ 11.
                                                                            4
                                        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DOMI PUBLICATIONS, LLC'S
                                                              MOTION TO QUASH SUBPOENAS
                                1         On April 27, 2020, the Creditors served Rikos with the Subpoenas
                                2 summoning him to appear and to produce documents on May 11, 2020 – a mere 14
                                3 day's notice. Rikos Decl., ¶ 16, Ex. A. The document requests identify fifteen
                                4 sweeping topics, which require Rikos to produce "All DOCUMENTS and
                                5 COMMUNICATIONS (including those on which [he was] cc'd or copied or
                                6 otherwise received…." See Ex. A. Topics include Rikos's legal strategy, the legal
                                7 fees and costs incurred by DOMI, settlement offers made and considered, retainer
                                8 agreements, joint defense agreements, and other documents directly related to
                                9 Rikos's representation of DOMI in the State Court Action. The requests, protected
                               10 by attorney-client privilege and attorney work product doctrine, are unduly
                               11 burdensome, and, if production is required, would require significantly more than
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                               12 fourteen days to collect the thousands of emails and other correspondence generated
                               13 during the course of the State Court Action.
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                               14         On May 5, 2020, the Bankruptcy Trustee waived the attorney-client privilege
                               15 that would otherwise be afforded to protect communications by and among the
                               16 Debtor and the Debtor's counsel. The Trustee may only be the holder of this
                               17 privilege until July, when the motion to dismiss is heard.
                               18                                             III.
                               19      The Court Must Not Countenance the Use of a Rule 2004 Examination to
                               20             Collect Discovery for Pending Litigation in Another Forum
                               21         It is improper for the Creditors – plaintiffs in the State Court Action – to take
                               22 advantage of Bankruptcy Rule 2004 to obtain discovery from their opposing party,
                               23 including their strategies, privileged communications, and attorney work product.
                               24         The contested Subpoenas have been specifically issued under Fed. R. Bankr.
                               25 P. 2004, which limits its scope to acts, conduct, property, liabilities and financial
                               26 condition of the debtor, DOMI. The primary purpose of an examination under Rule
                               27 2004 is to permit the trustee to ascertain the extent and location of the estate's assets.
                               28 In re Hammond, 140 B.R. 197, 201 (S.D.Ohio 1992). A party-in-interest may also
                                                                        5
                                       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DOMI PUBLICATIONS, LLC'S
                                                             MOTION TO QUASH SUBPOENAS
                                1 conduct the exam. In re GHR Energy, 35 B.R. 534, 536 (Bankr. D.Mass.1983). But,
                                2 while the scope of Rule 2004 is broad, it is not without limits. In re Blinder, 127
                                3 B.R. 267, 276 (D.Colo.1991).
                                4         Rule 2004 requires the Court to balance the competing interests of the parties,
                                5 by weighing the relevance and necessity of the information sought by the
                                6 examination. In re Drexel Burnham,123 B.R. 702, 712 (Bankr.S.D.N.Y.1991). This
                                7 requires a balancing of the creditor's right to obtain information related to the
                                8 debtor's financial condition against “the incalculably precious right of the citizen to
                                9 be let alone.” In re Vantage Petroleum, 34 B.R. 650, 651 (E.D.N.Y. 1983), quoting
                               10 Herron v. Blackford, 264 F.2d 723, 725 (5th Cir.1959). Documents which meet the
                               11 requirement of relevance do not, standing alone, demonstrate that there is good
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                               12 cause for requiring their production; necessity is vital to establishing good cause.
                               13 Id.; In re Public Service Co., 91 B.R. 198 (Bankr. D.N.H.1988). Whatever the
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                               14 discovery sought, this Court has "discretion to limit discovery if . . . the burden or
                               15 expense of the proposed discovery outweighs its likely benefit." Roberts v. Shawnee
                               16 Mission Ford, Inc., 352 F.3d 358, 361 (8th Cir. 2003).
                               17         Setting aside the burden to the subpoenaed party, the Creditors' requests, if
                               18 granted, would severely prejudice DOMI by affording its adversary otherwise
                               19 protected insights into its litigation strategies. A party in a pending litigation may
                               20 not seek one-sided discovery through Rule 2004. See, e.g., In re Enron Corp., 281
                               21 B.R. 836, 842 (Bankr. S.D.N.Y. 2002) (ruling that courts are concerned with using a
                               22 Rule 2004 examination in pending litigation outside the bankruptcy court); In re
                               23 SunEdison, Inc., 572 B.R. 482, 490 (Bankr. S.D.N.Y. 2017) (holding that a party in
                               24 pending litigation cannot seek one-sided discovery through Rule 2004); and In re
                               25 Coffee Cupboard, Inc., 128 B.R. 509, 516 (Bankr. E.D.N.Y. 1991) (holding that a
                               26 party in pending litigation before another body should not obtain information
                               27 through Rule 2004 examinations). Rikos urges this Court to be mindful of the
                               28 manifest abuse of Rule 2004 in this instance, as Creditors seek sensitive, protected
                                                                            6
                                       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DOMI PUBLICATIONS, LLC'S
                                                             MOTION TO QUASH SUBPOENAS
                                1 information which they can and should seek in the California Superior Court. The
                                2 fact that they have thus far been unsuccessful is not a reason to sanction forum
                                3 shopping and an expansion of the scope of a Rule 2004 examination beyond
                                4 recognition.
                                5                                             IV.
                                6       The Court Must Quash the Subpoenas Because They Manifest a Complete
                                7       Disregard for the Work Product Doctrine and Constitute a Gross Intrusion
                                8                        into Communications that Are Privileged
                                9          Privileged matters are not generally discoverable.3 Fed. R. Civ .P. 26(b)(1).
                               10 The burden of establishing an exception to privilege is on the party claiming the
                               11 exception, and if no exception or waiver applies, the court must quash or modify the
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                               12 subpoena. Fed. R. Civ. P. 45(d)(3)(A)(iii).4
                               13          Each of the Creditors' document requests unquestionably seeks attorney-client
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                               14 privileged communications and attorney work product. Most demonstrative of this
                               15 point is the following:
                               16          1.    All DOCUMENTS and COMMUNICATIONS (including those
                                           on which YOU were cc'd or copied or otherwise received, even if you
                               17          did not take part in the substantive discussion) in YOUR possession,
                                           custody or control regarding or related to the following topics:
                               18
                                           ***
                               19
                                           h.  YOUR legal strategy representing DOMI in the STATE COURT
                               20          ACTION.
                               21 Rikos Decl., Ex. A. This impertinent demand would never pass muster in an
                               22 adversarial civil proceeding, nor should it here. Rikos anticipates the Creditors will
                               23
                               24
                                    3
                                     The Federal Rules of Civil Procedure apply to discovery and subpoena matters in
                               25
                                    bankruptcy. See Fed. R. Bankr. P 7025-7036, and 9016.
                               26   4
                                         California privilege law applies as to the relationship between Rikos and
                               27 DOMI, whose relationship arose in the State Court Action. Hawkins, 2020 U.S.
                                  Dist. LEXIS 72311 at 59 ("'state law governs privilege regarding a claim or defense
                               28 for which state law supplies the rule of decision.'" [Citation omitted.])
                                                                              7
                                         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DOMI PUBLICATIONS, LLC'S
                                                               MOTION TO QUASH SUBPOENAS
                                1 rely on the bankruptcy trustee's waiver of privilege to overcome their burden, but,
                                2 for the reasons set forth below, that waiver should not be extended to allow the
                                3 Creditors' requests.
                                4         In 1985, the United States Supreme Court held that the trustee of a
                                5 corporation in bankruptcy has the power to waive the corporation's attorney-client
                                6 privilege with respect to pre-bankruptcy communications. Commodity Futures
                                7 Trading Comm'n v. Weintraub, 471 U.S. 343 (1985). In its analysis, the Court first
                                8 considered the role the trustee plays, and analogized it to the role of a corporate
                                9 officer or director. Id. at 352-353. It concluded that because the trustee plays the role
                               10 of an insolvent corporation's management, it should also hold the corporation's
                               11 attorney-client privilege. Id. at 353.
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                               12         The Weintraub Court then considered the federal interests that may be
                               13 impacted by its decision and stated:
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                               14         In seeking to maximize the value of the estate, the trustee must
                                          investigate the conduct of prior management to uncover and assert
                               15         causes of action against the debtor's officers and directors. See
                                          generally 11 U.S.C. §§ 704(4), 547, 548. It would often be extremely
                               16         difficult to conduct this inquiry if the former management were
                                          allowed to control the corporation's attorney-client privilege and
                               17         therefore to control access to the corporation's legal files. To the
                                          extent that management had wrongfully diverted or appropriated
                               18         corporate assets, it could use the privilege as a shield against the
                                          trustee's efforts to identify those assets. The Code's goal of uncovering
                               19         insider fraud would be substantially defeated if the debtor's directors
                                          were to retain the one management power that might effectively
                               20         thwart an investigation into their own conduct.
                               21 Weintraub, supra, 471 U.S. at 353.
                               22         In sanctioning the waiver of the attorney-client privilege over the debtor's
                               23 former directors' objection, the Court sanctioned the examination of Weintraub, the
                               24 debtor's lawyer, by the Commodity Futures Trading Commission. In this case,
                               25 however, the subpoenaing party is not the Bankruptcy Trustee nor a federal agency
                               26 conducting a criminal investigation. Instead, the deliberate and sensitive task of
                               27 reviewing privileged documents and delving into the opinions and strategies of the
                               28 debtor's attorney has been left to the Creditors. And not just any creditor, but
                                                                             8
                                       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DOMI PUBLICATIONS, LLC'S
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                                1 Creditors who are adverse parties who have already been denied the very same
                                2 access to the privileged attorney client communications and attorney work product
                                3 they now seek, by the San Diego Superior Court, and who would derive a direct and
                                4 immediate advantage in the pending State Court Action and appeal.
                                5         The Supreme Court in Weintraub was simply not presented with a situation
                                6 where the Trustee, in exercising his discretion to waive the privilege, then delegates
                                7 to a creditor the task of pursuing the waiver, much less a creditor currently adverse
                                8 to the subpoenaed party in pending actions. Citing to Congress, the Court stated,
                                9 "The extent to which the attorney client privilege is valid against the trustee is
                               10 unclear under current law and is left to be determined by the courts on a case by
                               11 case basis." Weintraub at 352, citing 124 Cong. Rec. 32400 (1978) (remarks of Rep.
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                               12 Edwards; id., at 33999 (remarks of Sen. DeConcini). In this particular case, this
                               13 Court should not sanction the implementation of an attorney-client privilege waiver
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                               14 to a party presently adverse to DOMI in pending state proceedings and should quash
                               15 the Creditor's subpoena on those grounds.
                               16 A.      The Subpoenas Seek Protected Attorney Work Product.
                               17         The Weintraub court did not consider whether a Trustee has the power to
                               18 waive the attorney work product doctrine in the context of pending litigation. It
                               19 certainly did not contemplate the forced disclosure of communications, opinion, and
                               20 strategy to an adversary. At a minimum, Rikos urges the court to decline to extend
                               21 the Trustee's authority to waive protected attorney work product, as the attorney, not
                               22 the client, holds the right to decide whether to disclose his thoughts, strategies, and
                               23 opinions. Hawkins at 73 citing Citizens for Ceres v. Superior Court, 217 Cal. App.
                               24 4th 889, 159 Cal. Rptr. 3d 789, 803 (Cal. Ct. App. 2013).
                               25         In 1974, the United States Supreme Court considered the importance of the
                               26 "work product of the lawyer" on balance against the need for liberal discovery.
                               27 Hickman v. Taylor, 329 U.S. 495 (1947), superseded by statute. The Hickman Court
                               28 concluded that if an attorney's work product were required to be produced then,
                                                                            9
                                       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DOMI PUBLICATIONS, LLC'S
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                                1        An attorney's thoughts, heretofore inviolate, would not be his own.
                                         Inefficiency, unfairness and sharp practices would inevitably develop
                                2        in the giving of legal advice and in the preparation of cases for trial.
                                         The effect on the legal profession would be demoralizing. And the
                                3        interests of the clients and the cause of justice would be poorly served.
                                4 Id at 511, see also McKenzie v. McCormick, 27 F.3d 1415, 1420 (9th Cir. 1994)
                                5 (finding that interview notes were protected work product.)
                                6        The principles set forth in Hickman have been codified under California Civil
                                7 Code of Procedure section 2018.030, which protects the discoverability of attorney
                                8 work product, and distinguishes between work product that receives absolute
                                9 protection and that which receives qualified protection:
                               10        (a) A writing that reflects an attorney's impressions, conclusions, opinions, or
                                         legal research or theories is not discoverable under any circumstances.
                               11
                                         (b) The work product of an attorney, other than a writing described in
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                               12        subdivision (a), is not discoverable unless the court determines that denial of
                                         discovery will unfairly prejudice the party seeking discovery in preparing that
                               13        party's claim or defense or will result in an injustice.
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                               14 Cal. Civ. Proc. Code § 2018.030.
                               15        Subsection (a) absolutely protects "any writing reflecting the thoughts and
                               16 impressions of counsel or their legal team, even if the document also reflects non-
                               17 attorney opinions or contains only the attorney's notes about a witness's statements.
                               18 Hawkins, supra, at 74. This protected work product remains "absolute" even when
                               19 shared with client. Id, citing BP Alaska Expl., Inc. v. Superior Court, 199 Cal. App.
                               20 3d 1240, 245 Cal. Rptr. 682, 690-91 (Cal. Ct. App. 1988).
                               21        Indeed, attorney work product is so sacred that the Court "may not require
                               22 disclosure of information claimed to be privileged [as an attorney-client
                               23 communication] . . . or attorney work product in order to rule on the claim of
                               24 privilege" in a civil proceeding. Cal. Evid. Code § 915(a); see also DP Pham, LLC
                               25 v. Cheadle, 246 Cal. App. 4th 653, 200 Cal. Rptr. 3d 937, 947 (Cal. Ct. App. 2016)
                               26 (collecting cases and citing § 915(a) for the proposition that courts "must approach
                               27 the issue [of whether documents are protected by the attorney-client privilege]
                               28 without inspection of the documents themselves.") In limited circumstances, a court
                                                                          10
                                       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DOMI PUBLICATIONS, LLC'S
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                                1 may conduct an in camera review after determining the privilege is waived or some
                                2 other exception applies, for the purpose of "determin[ing] if some protection is
                                3 warranted notwithstanding the waiver or exception." Id. However, no such review
                                4 may be conducted "for any reason until the court determines the privilege does not
                                5 apply or has been waived." Id. (quoting Costco, 219 P.3d at 746).
                                6         The work product privilege would be attenuated if it were limited to
                                          documents that were prepared in the case for which discovery is sought.
                                7         What is needed, if we are to remain faithful to the articulated policies of
                                          Hickman, is a perpetual protection for work product, one that extends
                                8         beyond the termination of the litigation for which the documents were
                                          prepared. Any less protection would generate the very evils that the
                                9         Court in Hickman attempted to avoid.
                               10 In re Murphy, 560 F.2d 326, 334 (8th Cir. 1977).
                               11         The Weintraub Court's analysis does not reach the same result when applied
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                               12 to the instant action. In Weintraub, a federal agency sought attorney-client
                               13 communications in order to unearth a corporation's fraudulent misconduct. Here, the
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                               14 Creditors seek to invade an attorney's thoughts and expressions of those thoughts.
                               15 Similarly, in Weintraub, the court was concerned with the debtor's corporate, day-
                               16 to-day activities. Whereas the documents and communications sought by Creditors
                               17 were prepared and received in anticipation of or during litigation, which is
                               18 separately protected under both the California and Federal Rules of Civil Procedure.
                               19 Fed. R. Civ. P 502; Cal. Civ. Proc. Code, § 2018.030.
                               20         In this case, the effort to violate the work product doctrine is especially
                               21 pernicious as the Creditor's lawyers seek a window into the plans, opinion, and
                               22 strategy of Rikos to whom they are adverse in the resumed State Court Action.
                               23 Moreover, the instant subpoena is not the Creditors' first effort to pierce the
                               24 attorney-client relationship and obtain strategic information to which they are not
                               25 entitled.
                               26         In light of the State Court's refusal to abrogate the work product doctrine and
                               27 sanction a wholesale intrusion into the Creditors' opposing counsel’s attorney-client
                               28 communications, it is perhaps no surprise that the Creditors have sought this
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                                       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DOMI PUBLICATIONS, LLC'S
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                                1 alternative tack. However, the Trustee may only be the holder of the attorney client
                                2 privilege for another 90 days. If the United States Trustee’s Office’s motion to
                                3 dismiss is granted, the Trustee is no longer the holder of the privilege. At a
                                4 minimum, it would seem, given the sacrosanct importance of attorney-client
                                5 privilege and the attorney work product doctrine, this Court should stay enforcement
                                6 of the Subpoenas until the Bankruptcy Court in Nevada can rule on whether to
                                7 dismiss the bankruptcy action and return the matter to State Court jurisdiction.
                                8 B.     The Subpoenas Seek Communications Protected by the State Court
                                9        Action's Defendants' Joint Defense Agreement.
                               10        The Bankruptcy Trustee does not have the authority to waive the joint defense
                               11 privilege that is shared by DOMI's co-defendant, Michael Pratt. Rikos Decl., ¶ 8.
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                               12        The joint defense privilege applies to civil co-defendants. In re Grand Jury
                               13 Subpoenas, 89-3 & 89-4, John Do 89-129 (Under Seal), 902 F.2d 244, 249 (4th Cir.
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                               14 1990). This is true even when the co-defendants are corporate entities. Continental
                               15 Oil Co. v. United States, 330 F.2d 347 (9th Cir. 1964). In Continental Oil, certain
                               16 employees and executives of appellants Standard Oil Company of California and
                               17 Continental Oil Company were summoned to testify before a federal grand jury. Id.
                               18 at 348. The corporations' counsel conducted interviews of the subpoenaed
                               19 individuals, then exchanged their memoranda in confidence to apprise each other of
                               20 the nature and scope of the inquiry. Id. Thereafter, the memoranda were subpoenaed
                               21 from the corporations and all persons moved to quash on the grounds of privilege,
                               22 which was denied by the district court. Id at 349.
                               23        The Ninth Circuit felt so strongly about breach of privilege, that it issued an
                               24 immediate ruling after the matter had been submitted. Id. at 348. The Ninth Circuit
                               25 found that a joint defense had been established by the parties and therefore their
                               26 exchanges were privileged. It held:
                               27        The [joint defense] privilege asserted here is a valuable and an
                                         important right for the protection of any client at any stage of his
                               28        dealings with counsel. it is a vital and important part of the client's
                                                                               12
                                       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DOMI PUBLICATIONS, LLC'S
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                                1         right to representation by counsel. We think that to make the
                                          limitations on this right sought to be urged by the United States would
                                2         tend in substantial measure to destroy the privilege.
                                3 Id. at 350.5
                                4         The Continental Oil court was persuaded by language from the Superior
                                5 Court of Minnesota:
                                6       Where an attorney furnishes a copy of a document entrusted to him by
                                        his client to an attorney who is engaged in maintaining substantially
                                7       the same cause on behalf of other parties in the same litigation,
                                        without an express understanding that the recipient shall not
                                8       communicate the contents thereof to others, the communication is
                                        made not for the purpose of allowing unlimited publication and use,
                                9       but in confidence, for the limited and restricted purpose to assist in
                                        asserting their common claims. The copy is given and accepted under
                               10       the privilege between the attorney furnishing it and his client. For the
                                        occasion, the recipient of the copy stands under the same restraints
                               11       arising from the privileged character of the document as the counsel
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                                        who furnished it, and consequently he has no right, and cannot be
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                               12       compelled, to produce or disclose its contents."
                               13 Continental Oil, 330 F.2d at 350 [citations omitted].
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                               14       The joint defense doctrine is not limited to attorney-client privilege
                               15 but also to the communications protected by the work product doctrine. In re
                               16 Grand Jury, 902 F.2d at 249. The court in In re Grand Jury found that two
                               17 entities – referred to as Movant and Subsidiary – were engaged in the joint
                               18 prosecution of a claim against the Army and the joint defense of Army's
                               19 counterclaim, and queried whether Subsidiary's waiver of attorney-client
                               20 privilege extended to Movant. The court held Subsidiary could not waive
                               21 privilege for Movant because "persons who share a common interest in
                               22 litigation should be able to communicate with their respective attorneys and
                               23 with each other to more effectively prosecute or defend their claims." Id. It
                               24 further concluded that a contrary finding "would not only be illogical but
                               25 would defeat the purpose of the rule." Id.
                               26
                                    5
                               27        Because the court found that the communications were protected by attorney-
                                  client privilege, it declined to consider whether the matters were also protected by
                               28 attorney work product. Continental Oil, 330 F.2d at 350.
                                                                             13
                                        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DOMI PUBLICATIONS, LLC'S
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                                1         Here, DOMI maintained a joint defense and common interest privilege with
                                2 its co-defendants, as is common in multiple party litigation. Rikos Decl., ¶ 8.
                                3 Because the Subpoenas request communications and work product between the co-
                                4 defendants' counsel and their respective law firms, the privileges of the co-
                                5 defendants are directly implicated. DOMI, and therefore its counsel, Rikos, is
                                6 contractually bound by its agreement with its co-defendants and does not have the
                                7 authority to waive such privileges. Further, such communications would serve no
                                8 legitimate purpose for a 2004 Examination.
                                9                                             V.
                               10       The Court Must Quash or Modify the Subpoenas because the Sweeping
                               11 Document Requests Constitute an Oppressive Burden and There is Insufficient
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                               12                                Time for Rikos to Comply
                               13         The Subpoenas seek documents and information which are not properly
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                               14 discoverable. The scope of permissible discovery is dictated by Rule 26 of the
                               15 Federal Rules of Civil Procedure, which permits parties to discovery that which is
                               16 "relevant to any party's claim or defense and proportional to the needs of the case[.]"
                               17 Fed. R. Civ. P. 26(b)(1). Accordingly, the party seeking discovery must make
                               18 "[s]ome threshold showing of relevance . . . before parties are required to open wide
                               19 the doors of discovery and to produce a variety of information which does not
                               20 reasonably bear on the issues in the case." Hofer v. Mack Trucks, Inc., 981 F.2d 377
                               21 (1992). Further, because the Subpoenas were issued pursuant to Rule 2004, as
                               22 detailed above, "relevance" should be narrowed to that which is necessary to
                               23 ascertain the extent and location of DOMI's assets. In re Hammond, supra, 140 BR.
                               24 at 201.
                               25         But showing relevance is only the first step. The party seeking discovery
                               26 must also show that the requested discovery is proportional to the needs of the case.
                               27 In considering relevance and proportionality, the Court looks to "the importance of
                               28 the issues at stake in the action, the amount in controversy, the parties' relative
                                                                             14
                                       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DOMI PUBLICATIONS, LLC'S
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                                1 access to relevant information, the parties' resources, the importance of the
                                2 discovery in resolving the issues, and whether the burden or expense of the proposed
                                3 discovery outweighs its likely benefit." Fed. R. Civ. P. 26(b)(1); see Hawkins v.
                                4 Kroger Co., No. 3:15-cv-02320-JM-AHG, 2020 U.S. Dist. LEXIS 72311, at *19
                                5 (S.D. Cal. Apr. 23, 2020) (S.D.C.A.), and Wiwa v. Royal Dutch Petroleum Co., 392
                                6 F.3d 812, 818 (5th Cir. 2004) (Identifying six factors to determine whether a
                                7 production subpoena presents an “undue” burden or expense, the courts consider a
                                8 variety of factors, including: 1) Relevance of the information requested; 2) The need
                                9 of the party for the production; 3) The breadth of the request for production; 4) The
                               10 time period covered by the subpoena; 5) The particularity with which the subpoena
                               11 describes the requested production; and 6) The burden imposed.)
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                               12         Rule 45 presents yet another hurdle. A party responsible for issuing and
                               13 serving a subpoena must take reasonable steps to avoid imposing undue burden or
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                               14 expense on a person subject to the subpoena. Fed. R. Civ. P. 45(d)(1). The Court
                               15 must enforce this duty and impose the appropriate sanction – which may include lost
                               16 earnings and reasonable attorney's fees – on a party or attorney who fails to comply.
                               17 Id.
                               18         On a motion to quash a subpoena, the moving party has the initial burden of
                               19 persuasion, but the party issuing the subpoena must demonstrate that good cause
                               20 exists for the taking of the requested discovery. Freeman v. Seligson, 405 F.2d 1326,
                               21 1336 (D.C.Cir.1968); In the Matter of Wilcher, 56 B.R. 428, 434 (1985). Good
                               22 cause ordinarily may be shown if the examination and requested documents are
                               23 necessary to establish the claim of the party seeking the examination production, or
                               24 that denial of such request would cause it undue hardship or injustice. Boeing v.
                               25 Coggeshall, 280 F.2d 654, 670 (D.C.Cir. 1960). If the requesting party comes
                               26 forward with sufficient evidence of good cause, the burden shifts to the party
                               27 opposing the examination. In re Hammond, 140 B.R. 197, 201 (1992).
                               28         The Creditors' document requests exceed that which is necessary for the
                                                                           15
                                        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DOMI PUBLICATIONS, LLC'S
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                                1 Trustee to locate and marshal DOMI's assets, and impinge on Rikos' right to be let
                                2 alone, by saddling him with a burden of production that should be borne by the
                                3 debtor. The Trustees have not, nor can they, overcome their burden to show good
                                4 cause for their extensive demands.
                                5 A.      The Subpoenas are premature because Creditors failed to take
                                6         reasonable steps to mitigate the burden on Rikos.
                                7         While DOMI has availed itself to the burdens and benefits of the Bankruptcy
                                8 court, Rikos has no dog in that fight and should not suffer the wrath of DOMI's
                                9 creditors. Where possible, documents and communications should first be sought
                               10 from DOMI. At present, Creditors have not conducted any 2004 examinations.
                               11 Instead, they aimed their first attack directly at Rikos, to pierce the attorney client
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                               12 protections, before a court unfamiliar with their prior attempts and State Court
                               13 admonishments.
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                               14         Rule 45 requires that the serving party take reasonable steps to avoid
                               15 imposing undue burden or expense on a person subject to the subpoena. Fed. R. Civ.
                               16 P. 45(d)(1). The Creditors should not seek from Rikos what they can just as easily
                               17 get from DOMI. See, e.g. Haworth, Inc. v. Herman Miller, Inc., 998 F.2d 975, 978
                               18 (Fed. Cir. 1993) (affirming district court's decision to require Defendant "to seek
                               19 discovery from its party opponent before burdening the non-party… with this
                               20 ancillary proceeding"). Yet the Creditors do precisely that. They request, for
                               21 instance, "All DOCUMENTS and COMMUNICATIONS. . ." concerning "The
                               22 transfer of Michael Pratt's interest in DOMI to Douglas Wiederhold and/or DOMI,"
                               23 (Request 1.b.) and "Financial transfers from DOMI to Douglas Widerhold, Ryan
                               24 Somavia, Michael Pratt, Matthew Wolfe, their agents, representatives, or attorneys
                               25 and/or any entities owned, partially owned, controlled or partially controlled by
                               26 Wiederhold, Somavia, Pratt and/or Wolfe, directly or indirectly." (Request 1.f.)
                               27         By drafting Subpoenas directed at DOMI's counsel, which include demands
                               28 for hundreds of thousands of documents, pertaining to multiple legal entities and
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                                       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DOMI PUBLICATIONS, LLC'S
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                                1 individuals, and invade the subjective thoughts and strategies of Rikos, the Creditors
                                2 have flouted their obligations under Rule 45. Instead, they endeavor to impose a
                                3 heavy burden on Rikos, which is a single person law firm, without the resources to
                                4 efficiently and cost effectively address the demand placed on it. Indeed, Rikos is
                                5 also a creditor of DOMI, owed in excess of $100,000 in fees from the underlying
                                6 litigation and suffering the ongoing financial strains of having conducted a three
                                7 month trial with only partial compensation and additional hardship attendant to the
                                8 COVID-19 lockdowns. Rikos Dec. ¶ 28.
                                9        It is improper to impose such heavy document production obligations on
                               10 Rikos, without any showing that such information is not readily available from
                               11 DOMI itself.
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                               12 B.     The Subpoenas are overbroad, unnecessary, and unmanageable.
                               13        Far from demonstrating any effort to avoid overbroad requests and
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                               14 definitions, the Subpoenas epitomize a fishing expedition. Starting with the
                               15 definition of "YOU and/or YOUR," which includes not only George D. Rikos and
                               16 his law firm, but also any of Rikos's agents, representatives and/or attorneys. As
                               17 worded, this includes third party entities who have provided Rikos with litigation
                               18 support, and his own counsel (which would also be separately protected by
                               19 privilege).
                               20        Similarly, the Creditors extended their definition of "COMMUNICATION"
                               21 to include any communications "between and/or among: YOU, DOMI, Douglas
                               22 Wiederhold, Michael Pratt, Clyde DeWitt, Aaron Sadock, Daniel Kaplan, Matthew
                               23 Zirzow, Ryan Somavia, Noam Glick, Matthew Wolfe," or any of their "agents,
                               24 representatives, or attorneys." This expansive definition would likely include over
                               25 dozens of individuals and entities and leave Rikos with the impossible task of
                               26 checking every corporate nook and cranny, then reviewing thousands upon
                               27 thousands of documents to avoid the improper production of a document protected
                               28 by attorney client privilege in another case.
                                                                             17
                                       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DOMI PUBLICATIONS, LLC'S
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                                1         Moreover, the Creditors already have access to all of the documents that
                                2 comprise the court filings, which consists of over 3,000 docket entries in the
                                3 consolidate State Court Action alone. Insisting on the re-production of these files
                                4 constitutes an inordinate waste of time with no apparent benefit other than to force
                                5 Rikos to incur exorbitant costs in compilation and storage to produce.
                                6 C.      Rikos lacked time to adequately respond to the Subpoenas.
                                7         The Subpoenas fail to allow Rikos a reasonable time to comply. To fully
                                8 comply with the Subpoenas, Rikos would be required to download and process tens
                                9 of thousands of emails, identify appropriate key words, review each email for
                               10 responsiveness, and redact them, as appropriate. Many of those thousands of emails
                               11 also contain attachments, which would also need to be downloaded, extracted, and
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                               12 reviewed. All of this is in addition to the review of the document file, which consist
                               13 of well over 22 gigabytes of data. Rikos Decl., ¶ 26.
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                               14         In order to perform the above-described document production, Rikos would
                               15 be required to retain an e-discovery provider to assist with the document extraction,
                               16 review and production. This was not an achievable task in the mere 14 day notice
                               17 he was provided. To adequately comply with any document request that requires the
                               18 collection and review of his entire email and document files, Rikos requests
                               19 substantially more time, no less than 90 days.
                               20 D.      Rule 45 Requires the Creditors to pay the significant costs of compliance.
                               21         Under Rule 45, this Court "must protect" Rikos "from significant expense
                               22 resulting from compliance." Fed. R. Civ. P. 45(d)(2)(B)(ii). "Rule 45(d)(2)(B)(ii)
                               23 requires the district court to shift a non-party's costs of compliance with a subpoena,
                               24 if those costs are significant." Legal Voice v. Stormans, Inc., 738 F.3d 1178, 1184
                               25 (9th Cir. 2013); see also Linder v. Calero-Portocarrero, 251 F.3d 178, 182 (D.C.
                               26 Cir. 2001.) The cost to comply with the Subpoenas would be significant by any
                               27 definition. See e.g., Legal Voice, 738 F.2d at 1185 ("we have no trouble concluding
                               28 that $20,000 is significant'"). The imposition of such a cost on a solo practitioner,
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                                       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DOMI PUBLICATIONS, LLC'S
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                                1 who himself is a substantial creditor of the debtor's estate, and is navigating a
                                2 significant economic downturn in the midst of a pandemic, would be
                                3 unconscionable. Thus, if the Court is not inclined to quash the Subpoenas in their
                                4 entirety, Rikos respectfully requests he be reimbursed by Creditors for the
                                5 reasonable cost of compliance, including his lost time.
                                6                                               VI.
                                7                                          Conclusion
                                8            For the foregoing reasons, Rikos respectfully urges the Court to quash the
                                9 Subpoenas in their entirety or, alternatively, issue an order (1) exempting documents
                               10 and testimony covered by the attorney work product doctrine and joint defense
                               11 privilege; (2) exempting documents which Creditors can obtain from the debtor
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                               12 DOMI directly or which were previously disclosed through discovery or in public
                               13 filings; (3) extending the date of compliance with the Subpoenas by a minimum of
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                               14 ninety (90) days; and (4) requiring Creditors to pay for the reasonable cost of the
                               15 collection, review, and production of responsive documents.
                               16
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                               19
                                                                          By:
                               20 DATED: May 8, 2020                                  /s/ Earll M. Pott
                                                                                Heather L. Rosing
                               21                                               Earll M. Pott
                               22                                               Tara R. Burd
                                                                                Attorneys for George Rikos and the Law
                               23                                               Offices of George Rikos
                               24   18407517.6


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